Case 5:13-cv-00546-JGB-SP Document 20 Filed 02/19/14 Page 1 of 1 Page ID #:72



 1
 2
 3
 4
 5
 6
 7
                               UNITED STATES DISTRICT COURT
 8
                             CENTRAL DISTRICT OF CALIFORNIA
 9
                                     EASTERN DIVISION
10
11
     Desiree Rodriguez,                           Case No.: 5:13-cv-00546-JGB-SP
12
                       Plaintiff,                 ORDER
13
14          vs.

15 Milestone
   inclusive,
              Law Group; and DOES 1-10,

16                Defendants.
17
18
19          Based on the Stipulation of counsel, Judgment is hereby entered in favor of

20 Plaintiff against the Defendant Milestone Law Group in the amount of $3,000.00.
21
     Date: February 19, 2014                      ___________________________
22
                                                  Hon. Jesus G. Bernal
23
24
25
26
27
28

     5:13-cv-00546-JGB-SP                                             STIPULATED JUDGMENT
